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 10
                          UNITED STATES DISTRICT COURT
 11                      CENTRAL DISTRICT OF CALIFORNIA
                               SOUTHERN DIVISION
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 13   DISH NETWORK L.L.C. and                 Case No. 8:24-cv-01028-JVS-ADS
      SLING TV L.L.C.,
 14
                   Plaintiff,
 15                                           FINAL JUDGMENT AND
             v.                               PERMANENT INJUNCTION [20]
 16

 17   MARCELINO CHELINO PADILLA
      and DANNY CONTRERAS,
 18
                   Defendants.
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            Before the Court is the Agreed Motion for Entry of Final Judgment and
 22
      Permanent Injunction filed jointly by Plaintiffs DISH Network L.L.C and Sling TV
 23
      L.L.C. and Defendants Marcelino Chelino Padilla and Danny Contreras (collectively
 24
      “the Parties”). The Court GRANTS the motion and ORDERS as follows:
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            1.    Judgment is entered against Defendants, and for Plaintiffs, on Count I
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      of the complaint which allege Defendants’ violations of the Digital Millennium
 27
      Copyright Act (“DMCA”), 17 U.S.C. § 1201(a)(2) for trafficking in streaming
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      services that are accessed using the vSeeBox and Tanggula set-top boxes (the
                                              1                           Final Judgment and
                                                                         Permanent Injunction
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  1   “Services”), that capture and retransmit Plaintiffs’ channels, without authorization,
  2   by circumventing Plaintiffs’ security measures.
  3         2.       Plaintiffs are awarded damages of $1,250,000.00 against Marcelino
  4   Chelino Padilla (“Padilla”), which is calculated at $2,500 under 17 U.S.C. §
  5   1203(c)(3)(A) for each of the 500 Services sold by Padilla. The Parties agreed that
  6   this Order does provide an award of damages against Defendant Danny Contreras.
  7         3.       Defendants, and any officer, agent, servant, employee, or other person
  8   acting in active concert or participation with them that receives actual notice of the
  9   Order, from:
 10                  A.      manufacturing, offering to the public, providing, or otherwise
 11         trafficking in the Services, vSeeBox and Tanggula set-top boxes, or any other
 12         technology, product, service, device, component, or part thereof that:
 13                         i.     is primarily designed or produced for circumventing any
 14                  digital rights management (“DRM”) technology or other technological
 15                  measure that Plaintiffs use to control access to or protect against copying
 16                  of a copyrighted work;
 17                        ii.     has at best only limited commercially significant purpose
 18                  or use other than circumventing any DRM technology or other
 19                  technological measure that Plaintiffs use to control access to or protect
 20                  against copying of a copyrighted work; or
 21                       iii.     is marketed for circumventing any DRM technology or
 22                  other technological measure that Plaintiffs use to control access to or
 23                  protect against copying of a copyrighted work; or
 24                  B.      intentionally disclosing, endeavoring to disclose, using, or
 25         endeavoring to use Plaintiffs’ channels knowing or having reason to know that
 26         they were obtained through interception.
 27         4.       This permanent injunction takes effect immediately.
 28

                                                   2                             Final Judgment and
                                                                                Permanent Injunction
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  1         5.    Plaintiffs’ causes of action under the DMCA, 17 U.S.C. § 1201(b)(1)
  2   [Count II] and the Electronic Communications Privacy Act, 18 U.S.C. §§ 2511(1)(c),
  3   (d), and 2520 [Count III] are hereby dismissed against Defendants with prejudice.
  4         6.    Each party is to bear its own attorney’s fees and costs.
  5         7.    The Court retains jurisdiction over this action for the purpose of
  6   enforcing this Final Judgment and Permanent Injunction.
  7   IT IS SO ORDERED.
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 10   Dated: July 05, 2024           __________________________________
 11                                       HONORABLE JAMES V. SELNA
                                          United States District Judge
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                                               3                              Final Judgment and
                                                                             Permanent Injunction
